                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 IN RE: BIT DIGITAL, INC.
 SECURITIES LITIGATION
                                                         Lead Case No. 1:21-cv-00515-ALC
              This document relates to:

               All Actions



     NOTICE OF UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
    SETTLEMENT AND APPROVAL OF NOTICE TO THE SETTLEMENT CLASS

       PLEASE TAKE NOTICE that Lead Plaintiff Joseph Franklin Monkam Nitcheu (“Lead

Plaintiff”) will move this Court before the Honorable Andrew L. Carter, Jr. at the United States

District Court for the Southern District of New York, at the United States Courthouse, 40 Foley

Square, New York, New York 10007, at a date and time to be set by the Court, for an Order,

pursuant to Federal Rules of Civil Procedure 23, granting preliminary approval of a settlement to

the above referenced case.

       This motion is based upon the accompanying memorandum of law, and declaration of

Jacob A. Walker.

October 24, 2022                                    Respectfully submitted,

                                                    /s/ Jacob A. Walker
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                                                    Attorneys for Lead Plaintiff and the
                                                    Proposed Class




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